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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                         )
In re:                                                                   )   Chapter 11
                                                                         )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                           )   Case No. 19-80064 (TLS)
                                                                         )
                          Debtors.                                       )   (Jointly Administered)
                                                                         )
                                                                         )   Re: Docket No. 27, 28

                ORDER (I) ESTABLISHING BIDDING PROCEDURES
         FOR THE PHARMACY ASSETS AND (II) GRANTING RELATED RELIEF

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors in possession (the “Debtors”) for the entry of an order (this “Bidding Procedures Order”):

(i) establishing the bidding procedures attached hereto as Exhibit A (the “Bidding Procedures”),

by which the Debtors will solicit and select the highest or otherwise best offer(s) for the sale(s),

liquidation(s), or other disposition(s) (such sale(s), liquidation(s), or other disposition(s), the

“Transaction(s)”) of the Debtors’ stock of prescription pharmaceutical inventory located in the

prescription pharmacies in the Debtors’ stores (the “Pharmacy Inventory”) and/or the prescription

files and records, pharmacy customer lists and patient profiles (the “Pharmacy Files,” together

with the Pharmacy Inventory, the “Pharmacy Assets”) located at, and for customers serviced from,

such prescription pharmacies (the “Pharmacies”); (ii) approving the form and manner of notice




1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
    Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
    R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
    Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
    LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
    (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
2   Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the Motion
    or the Bidding Procedures, as applicable.
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with respect to certain procedures, schedules, and agreements described herein and attached hereto

as Exhibit B (the “Transaction Notice”); (iii) scheduling of a final hearing (the “Transaction

Hearing”) to approve the Transactions; (iv) approving the form agreements attached to the Bidding

Procedures; (v) approving procedures for selling certain Pharmacy Assets in the ordinary course;

and (vi) granting related relief; all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and Nebraska General Rule 1.5 of the United States District Court for the District of

Nebraska; and that this Court may enter a final order consistent with Article III of the United States

Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other

notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court (the “Hearing”);

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       A.      The findings of fact and conclusions of law herein constitute the Court’s findings

of fact and conclusions of law for the purposes of Bankruptcy Rule 7052, made applicable pursuant

to Bankruptcy Rule 9014. To the extent any findings of facts are conclusions of law, they are




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adopted as such. To the extent any conclusions of law are findings of fact, they are adopted as

such.

        B.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue in this Court is proper pursuant

to 28 U.S.C. §§ 1408 and 1409.

        C.      The bases for the relief requested in the Motion are sections 105, 363, 365, 503,

and 507 of the Bankruptcy Code, Bankruptcy Rules 2002(a)(2), 6004, 6006, 9007, and 9014,

and Local Rule 6004-1. The legal and factual bases set forth in the Motion establish just cause for

the relief granted herein. Entry of this Bidding Procedures Order is in the best interests of the

Debtors and their respective estates, creditors, and all other parties in interest.

        D.      Notice of the Motion and the proposed entry of this Bidding Procedures Order was

adequate and sufficient under the circumstances of these chapter 11 cases, and such notice

complied with all applicable requirements of the Bankruptcy Code, the Bankruptcy Rules, and the

Local Rules. Notice of the Motion has been given to: (a) the office of the U.S. Trustee for the

District of Nebraska; (b) the holders of the 30 largest unsecured claims against the Debtors (on a

consolidated basis); (c) the agents under the Debtors’ prepetition asset-based facility; (d) the

agents under the proposed DIP Facility; (e) the agents under the Debtors’ prepetition term loan

facility; (f) the Internal Revenue Service; (g) the United States Securities and Exchange

Commission; (h) the office of the attorneys general for the states in which the Debtors operate;

(i) the United States Attorney’s Office for the District of Nebraska; and (j) any party that has

requested notice pursuant to Bankruptcy Rule 2002. Accordingly, no further notice of the Motion

or this Bidding Procedures Order is necessary or required.




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        E.      The Debtors have demonstrated a compelling and sound business justification for

the Court to grant the relief requested in the Motion, including: (a) establishing the Bidding

Procedures, by which the Debtors will solicit and select the highest or otherwise best offer(s) for

the Transaction(s) of the Debtors’ Pharmacy Assets located at, and for customers serviced from,

the Pharmacies; (b) approving the Transaction Notice; (c) scheduling of the Transaction Hearing

to approve the Transactions; (d) approving the form agreements attached to the Bidding

Procedures; (e) approving the procedures for selling certain Pharmacy Assets not sold at the

Auction; and (g) granting related relief. Such compelling and sound business justification, which

was set forth in the Motion, the Spencer Declaration, and on the record at the hearing for such

Motion, are incorporated herein by reference and, among other things, form the basis for the

findings of fact and conclusions of law set forth herein.

        F.      The Bidding Procedures, incorporated herein by reference as if fully set forth in

this Bidding Procedures Order, are fair, reasonable, and appropriate and represent the best method

for maximizing the value of the Debtors’ estates.

        G.      The Transaction Notice, substantially in the form attached hereto as Exhibit B,

incorporated herein by reference as if fully set forth in this Bidding Procedures Order, is

appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of: (i) the date, time, and place of the Auction; (ii) the Bidding Procedures; (iii) the deadline

for filing objections to the Transaction and entry of the Transaction Order, and the date, time, and

place of the Transaction Hearing; (iv) reasonably specific identification of the assets to be sold;

(v) instructions for promptly obtaining copies of the Form APA; and (vi) a description of the

Transaction as being free and clear of liens, claims, encumbrances, and other interests, with all




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such liens, claims, encumbrances, and other interests attaching with the same validity and priority

to the Transaction proceeds, and no other or further notice of the Transaction shall be required.

         H.       The Post-Auction Notice, substantially in the form attached hereto as Exhibit C

and incorporated herein by reference as if fully set forth in this Bidding Procedures Order, is

appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of the Successful Bidder(s), and no other or further notice is required.

         I.       The Debtors’ prepetition marketing process has been reasonably calculated to

maximize value for the benefit of all stakeholders.

IT IS HEREBY ORDERED THAT:

         1.       The Motion is granted as provided herein.3

         2.       All objections to the relief requested in the Motion that have not been withdrawn,

waived, or settled as announced to the Court at the hearing on the Motion or by stipulation filed

with the Court, are overruled.

I.       Timeline for the Transaction.

         3.        The Debtors are authorized to proceed with the Transaction in accordance with the

Bidding Procedures and are authorized to take any and all actions reasonably necessary or

appropriate to implement the Bidding Procedures in accordance with the following timeline:

                          Action                                               Deadline
                                                     January 21, 2019, at 4:00 p.m.
          Bid Deadline
                                                     (prevailing Central Time) as the deadline by which
                                                     bids for the assets (as well as all other
                                                     documentation required under the Bidding
                                                     Procedures for Potential Bidders (as defined in the
                                                     Bidding Procedures)) must be actually received
                                                     (the “Bid Deadline”).


3    Notwithstanding anything to the contrary herein, the consummation of the Transaction is subject to entry of the
     Transaction Order.



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                      Action                                       Deadline
                                             January 23, 2019, at 9:00 a.m. (prevailing Central
        Auction
                                             Time) will be held at the offices of Kirkland & Ellis
                                             LLP, located at 300 North LaSalle, Chicago, Illinois
                                             60654, (or at any other location as the Debtors may
                                             hereafter designate on proper notice).
                                             January 25, 2019, at 4:00 p.m.
        Transaction Objection Deadline
                                             (prevailing Central Time) as the deadline to object
                                             to the Transaction.
                                             January 28, 2019, at 1:00 p.m. (prevailing Central
        Reply Deadline
                                             Time) as the deadline to reply to the Transaction
                                             Objections (at the Transaction Hearing).
                                             January 28, 2019, at 1:00 p.m.
        Transaction Hearing
                                             (prevailing Central Time).


       4.      For the avoidance of doubt, the Debtors reserve the right, and are authorized, to

modify the above timeline and the Bidding Procedures in accordance with the provisions of the

Bidding Procedures.

II.    The Bidding Procedures.

       5.      The Bidding Procedures, attached as Exhibit A hereto, are incorporated herein and

approved in their entirety, and the Bidding Procedures shall govern the submission, receipt, and

analysis of all bids related to the sale of the Pharmacy Assets and any Auction. Any party desiring

to submit a bid shall comply with the Bidding Procedures and this Bidding Procedures Order. The

Debtors are authorized to take any and all actions reasonably necessary or appropriate to

implement the Bidding Procedures. The failure to specifically include or reference a particular

provision of the Bidding Procedures in this Bidding Procedures Order shall not diminish or impair

the effectiveness of such provision.

       6.      At or following the Auction, the Debtor may (a) select, in its business judgment,

pursuant to the Bidding Procedures, (i) the highest or otherwise best bid as the Successful Bidder



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and (ii) the second highest or otherwise second-best bid as the Backup Bidder; and (b) reject any

bid (regardless of whether such bid is a Qualified Bid) that, in such Debtor’s business judgment,

is (i) inadequate, insufficient, or not the highest or otherwise best bid, (ii) not in conformity with

the requirements of the Bankruptcy Code, the Bankruptcy Rules, or the Bidding Procedures, or

(iii) contrary to, or otherwise not in the best interests of the Debtors’ estates, affected stakeholders,

or other parties in interest, in each case subject to and in accordance with the Bidding Procedures.

For the avoidance of doubt, the Debtors are not required to name a Successful Bidder for any given

Pharmacy Asset or group thereof and may elect to not sell such asset to the highest or otherwise

best bidder.

        7.      In the event a Successful Bidder does not close for any given Pharmacy Asset, the

Debtors will promptly file a supplemental notice on or before the closing deadline in the relevant

agreement, seeking to approve the sale to the Backup Bidder. The Backup Bidder shall not be

approved at the Transaction Hearing.

        8.      The process and requirements associated with submitting a Qualified Bid are

approved as fair, reasonable, appropriate, and designed to maximize recoveries for the benefit of

the Debtors’ estates, creditors, and other parties in interest. As further described in the Bidding

Procedures, the Bid Deadline shall be at 4:00 p.m. (prevailing Central Time) on January 21, 2019.

Any disputes or objections to the selection of Qualified Bids, Successful Bids, or Backup Bids (all

as defined in the Bidding Procedures) shall be resolved by this Court at the Transaction Hearing

as set forth herein.

        9.      The Debtors are authorized to conduct the Auction in accordance with the Bidding

Procedures. The Auction shall take place at 9:00 a.m. (prevailing Central Time) on January 23,

2019 at the offices of the proposed counsels for the Debtors, Kirkland & Ellis LLP, located at 300




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North LaSalle, Chicago, Illinois 60654 (or at any other location as the Debtors may hereafter

designate on proper notice).

       10.     The Debtors shall file notice on the docket of these chapter 11 cases of the results

of the Auction as soon as reasonably practicable after the close of the Auction.

III.   Notice Procedures.

       11.     The form of Transaction Notice substantially in the form attached hereto as

Exhibit B (the “Transaction Notice”) is approved.

       A.      Notice of Transaction, Auction, and Transaction Hearing.

       12.     As soon as reasonably practicable after the entry of this Bidding Procedures Order,

the Debtors shall serve the Transaction Notice, Form APA, Bidding Procedures Order, and

Bidding Procedures by overnight mail or, for those parties who have consented to receive notice

by the Electronic Case Files (“ECF”) system, by ECF, upon (a) the office of the U.S. Trustee for

the District of Nebraska; (b) the holders of the 30 largest unsecured claims against the Debtors (on

a consolidated basis); (c) the agents under the Debtors’ prepetition asset-based facility; (d) the

agents under the proposed DIP Facility; (e) the agents under the Debtors’ prepetition term loan

facility; (f) the Internal Revenue Service; (g) the United States Securities and Exchange

Commission; (h) the office of the attorneys general for the states in which the Debtors operate;

(i) the United States Attorney’s Office for the District of Nebraska; and (j) any party that has

requested notice pursuant to Bankruptcy Rule 2002.

       13.     In addition, as soon as reasonably practicable after the entry of this Bidding

Procedures Order, the Debtors shall serve the Transaction Notice by overnight mail or, for those

parties who have consented to receive notice by the ECF system, by ECF, upon (a) the office of

the U.S. Trustee for the District of Nebraska; (b) the holders of the 30 largest unsecured claims

against the Debtors (on a consolidated basis); (c) the agents under the Debtors’ prepetition


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asset-based facility; (d) the agents under the proposed DIP Facility; (e) the agents under the

Debtors’ prepetition term loan facility; (f) the Internal Revenue Service; (g) the United States

Securities and Exchange Commission; (h) the office of the attorneys general for the states in which

the Debtors operate; (i) the United States Attorney’s Office for the District of Nebraska; and (j) any

party that has requested notice pursuant to Bankruptcy Rule 2002. Service of the Transaction

Notice as described above shall be sufficient and proper notice of the Transaction with respect to

known interested parties.

       B.      Notice of Successful Bidder.

       14.     As soon as reasonably practicable after the conclusion of the Auction, the Debtors

shall file on the docket, but not serve, a notice identifying the Successful Bidder(s) (the “Post-

Auction Notice”). The form of the Post-Auction Notice, substantially in the form attached hereto

as Exhibit C, is approved.

IV.    Transaction Hearing.

       15.     A Transaction Hearing to approve the Transaction regarding certain of the assets to

the Successful Bidder shall be held on January 28, 2019, at 1:00 p.m. (prevailing Central Time),

which may be adjourned or rescheduled without notice. At the Transaction Hearing, the Debtors

will seek this Court’s approval of the Successful Bid. The Transaction Hearing shall be an

evidentiary hearing on matters relating to the Transaction and there will be no further bidding at

the Transaction Hearing. In the event that the Successful Bidder cannot or refuses to consummate

the Transaction, the Debtors may, in accordance with the Bidding Procedures, and after

consultation with the Consultation Parties, designate the Backup Bid to be the new Successful Bid

and the Backup Bidder to be the new Successful Bidder, and the Debtors shall request approval

of, and authority to consummate, the Backup Bid from the Court on an expedited basis, as soon as

reasonably practicable in accordance with the Court’s calendar.


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       16.     Any and all objections, if any, to the Transaction (a “Transaction Objection”) must

be filed by: January 25, 2019 at 4:00 p.m. (prevailing Central Time) (as applicable, the

“Transaction Objection Deadline”). Any Transaction Objection must be served on: (a) the Debtors,

Specialty Retail Shops Holding Corp., 700 Pilgrim Way, Green Bay, Wisconsin 54304,

Attn: Russell Steinhorst, Chief Executive Officer; (b) proposed counsel to the Debtors, Kirkland

& Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Travis Bayer, Esq. and Jamie

Netznik, Esq.; Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022,

Attn: Steven Serajeddini, Esq.; (c) proposed co-counsel to the Debtors, McGrath North Mullin &

Kratz, P.C. LLO, 1601 Dodge St., Omaha, Nebraska 68102, Attn: James Niemeier, Esq.; (d) the

Office of the United States Trustee for the District of Nebraska, 111 South 18th Plaza, #1125,

Omaha, Nebraska 68102, Attn: Jerry Jensen, Esq.; (e) counsel to Wells Fargo Bank, N.A.,

Otterbourg P.C., 230 Park Avenue, New York, New York 10169, Attn: Chad Simon, Esq.; and

(f) counsel to the official committee of unsecured creditors (if any) appointed in these chapter 11

cases, (collectively (a)–(f), the “Objection Recipients”).      Any party failing to timely file a

Transaction Objection will be forever barred from objecting and will be deemed to have consented

to the Transaction, including the transfer of the Debtors’ right, title and interest in, to, and under

the assets free and clear of any and all liens, claims, interests, and encumbrances in accordance

with the definitive agreement for the Transaction.

       17.     All replies to any Transaction Objection must be filed by: January 28, 2019 at 1:00

p.m. (prevailing Central Time) (as applicable, the “Reply Deadline”).

V.     Procedures for Unsold Property.

       18.     If the Debtors determine that selling a single location in the ordinary course of

business would maximize the value of a particular Pharmacy Asset being sold, or if the Debtors




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determine that holding an Auction with respect to a particular Pharmacy Asset would not result in

the highest or otherwise best offer for such asset, or if the Debtors receive no bids on certain

Pharmacy Assets prior to the close of the Auction, or if the Debtors determine that the highest or

otherwise best bid at the Auction will not, in the Debtors’ business judgment maximize the value

of a particular Pharmacy Asset being sold, the Debtors shall follow the following procedures (the

“Non-Auction Transaction Procedures”) to sell such Pharmacy Assets (the “Non-Auction

Pharmacy Assets”).

                (a)      With regard to sales or transfers of Non-Auction Pharmacy Assets in any
                         individual transaction or series of related transactions to a single buyer or
                         group of related buyers with a sale price4 less than or equal to $10,000,000:

                         (i)     subject to the procedures set forth herein, the Debtors are authorized
                                 to consummate such transaction(s) without further order of the
                                 Court if the Debtors determine in the reasonable exercise of their
                                 business judgment that such sales or transfers are in the best interests
                                 of their estates and the sale price is higher or otherwise better than
                                 any bid received at the Auction, if applicable;

                         (ii)    subject to the Transaction Order and any conditions therein, any
                                 such Transactions shall be deemed final and fully authorized by the
                                 Court and free and clear of liens, with such liens attaching only to
                                 the sale proceeds with the same validity, extent, and priority as
                                 immediately prior to the sale or transfer;

                         (iii)   the Debtors shall cause, as soon as reasonably practicable, a notice
                                 of such transaction (a “Non-Auction Transaction Notice”) to be filed
                                 with the Court and served on: (a) the office of the U.S. Trustee for
                                 the District of Nebraska; (b) the holders of the 30 largest unsecured
                                 claims against the Debtors (on a consolidated basis); (c) the agents
                                 under the Debtors’ prepetition asset-based facility; (d) the agents
                                 under the proposed DIP Facility; (e) the agents under the Debtors’
                                 prepetition term loan facility; (f) the Internal Revenue Service; (g)
                                 the United States Securities and Exchange Commission; (h) the
                                 office of the attorneys general for the states in which the Debtors
                                 operate; (i) the United States Attorney’s Office for the District of
                                 Nebraska; and (j) any party that has requested notice pursuant to

4   For purposes of these Non-Auction Transaction Procedures, “sale price” shall refer to the bidder’s proposed
    purchase price as agreed to by the Debtors.



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                                  Bankruptcy Rule 2002.; and (l) any Qualified Bidder who placed a
                                  bid on such property at the Auction (collectively, the “Non-Auction
                                  Transaction Notice Parties”);

                         (iv)     the content of the Non-Auction Transaction Notice shall consist of:
                                  (a) an identification of the Non-Auction Pharmacy Assets being sold
                                  or transferred; (b) an identification of the purchaser of the Pharmacy
                                  Assets; (c) the purchase price to be paid for the Non-Auction
                                  Pharmacy Assets; (d) the marketing or transaction process,
                                  including any commissions to be paid to third parties, used to sell
                                  the assets; and (e) the significant terms of the sale or transfer
                                  agreement5;

                         (v)      if, within fourteen (14) days after receipt of such Non-Auction
                                  Transaction Notice by any of the Non-Auction Transaction Parties
                                  (or such additional time period as may be agreed to by the Debtors),
                                  (a) no written objections are filed with the Court, and (b) the Debtors
                                  do not receive any competing bids for any of the Non-Auction
                                  Pharmacy Assets being sold (a “Competing Bid”), the Debtors are
                                  authorized to immediately consummate such sale or transfer;

                         (vi)     if any Non-Auction Transaction Party files a written objection to any
                                  such sale or transfer with the Court within fourteen (14) days (or
                                  such additional time period as may be agreed to by the Debtors) after
                                  receipt of such Non-Auction Transaction Notice, the applicable
                                  Non-Auction Pharmacy Asset shall only be sold or transferred upon
                                  either (a) the consensual resolution of the objection by the parties or
                                  (b) further order of the Court after notice and a hearing; and

                         (vii)    if the Debtors receive a Competing Bid, the Debtors will evaluate
                                  such Competing Bid, in consultation with the Consultation Parties,
                                  and hold an Auction between only the initial purchaser and the
                                  competing bidder to determine the higher or otherwise better bid.
                                  The Debtors shall be authorized to enter into a transaction agreement
                                  with the successful bidder at the Auction without further order of
                                  this Court.

                (b)      These Non-Auction Transaction Procedures shall not apply to any sale or
                         transfer to an insider, committee member, or lender of the Debtors.




5   A copy of the definitive agreement for the applicable Non-Auction Pharmacy Assets shall be provided promptly
    to any Non-Auction Transaction Notice Parties upon request.



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VI.    Miscellaneous.

       19.     Notwithstanding anything to the contrary in this Bidding Procedures Order, the

agreements or otherwise, on the closing date of any Transaction, the proceeds of the Pharmacy

Assets from the closing of such Transaction shall be paid to the agent under the DIP Credit

Agreement (the “Agent”) for application and payment of all obligations owing by the Debtors to

Agent and the Lender (as defined in the DIP Orders), in accordance with the Interim DIP Order

and Section 6.4(d) of the Loan Agreement(as defined in the DIP Orders), until such time as all

such obligations have been fully repaid and satisfied in full in accordance with the terms and

conditions of the DIP Orders and the Loan Agreement.

       20.     Notwithstanding anything to the contrary contained in this Bidding Procedures

Order or otherwise: (i) nothing in this Bidding Procedures Order shall amend, modify, or impair

any provision of the DIP Order or DIP Budget, or the rights of the Agent and lenders thereunder;

and (ii) to the extent of any conflict between the terms of this Bidding Procedures Order and the

terms of the DIP Order, the terms of the DIP Order shall control.

       21.     Notwithstanding anything else contained herein to the contrary, any party may seek

marshalling or seek to assert reclamation claims prior to the Transaction Hearing, solely to the

extent that any such remedies or claims exist.

       22.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Bidding Procedures Order in accordance with the Motion.

       23.     This Bidding Procedures Order shall constitute the findings of fact and conclusions

of law and shall take immediate effect upon execution hereof.




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       24.      To the extent this Bidding Procedures Order is inconsistent with any prior order or

pleading with respect to the Motion in these cases, the terms of this Bidding Procedures Order

shall govern.

       25.      To the extent any of the deadlines set forth in this Bidding Procedures Order do not

comply with the Local Rules, such Local Rules are waived and the terms of this Bidding

Procedures Order shall govern.

       26.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or otherwise, this Court, for good cause shown, orders that the terms and conditions

of this Bidding Procedures Order shall be immediately effective and enforceable upon its entry.

       27.      This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Bidding Procedures Order, including, but not limited

to, any matter, claim, or dispute arising from or relating to the Bidding Procedures and the

implementation of this Bidding Procedures Order.

 Omaha, Nebraska
 Dated: January 17, 2019                             /s/Thomas L. Saladino
                                                     UNITED STATES BANKRUPTCY JUDGE




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                                     Exhibit A

                                Bidding Procedures
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEBRASKA

                                                                          )
In re:                                                                    ) Chapter 11
                                                                          )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                           ) Case No. 19-80064 (TLS)
                                                                          )
                           Debtors.                                       ) (Jointly Administered)
                                                                          )

                             BIDDING PROCEDURES FOR
                THE DISPOSITION OF THE DEBTORS’ PHARMACY ASSETS

        On January 16, 2019, the United States Bankruptcy Court for the District of Nebraska
(the “Court”) entered the Order (I) Establishing Bidding Procedures for the Pharmacy Assets and
(II) Granting Related Relief (the “Bidding Procedures Order”), 2 by which the Court approved the
following procedures. These Bidding Procedures set forth the process by which the Debtors are
authorized to conduct an auction (the “Auction”) for the sale(s), liquidation(s), or other
disposition(s) (the “Transaction(s)”) of the Debtors’ stock of prescription pharmaceutical
inventory located in the prescription pharmacies in the Debtors’ stores (the “Pharmacy Inventory”)
and/or the prescription files and records, pharmacy customer lists and patient profiles (the
“Pharmacy Files,” together with the Pharmacy Inventory, the “Pharmacy Assets”) located at, and
for customers serviced from, such prescription pharmacies (the “Pharmacies”).

A.       Solicitation Process; Distribution of Bidding Procedures.

        For any sale of the Pharmacy Assets in these chapter 11 cases (the “Bankruptcy Case”),
Specialty Retail Shops Holding Corp. and affiliated Debtors (the “Debtors”) and/or any such other
agent of the Debtors shall, at the Debtors’ direction, distribute these Bidding Procedures to any
potential interested bidders. The Debtors, in the exercise of their reasonable business judgment
may elect to exclude any Pharmacy Assets from these Bidding Procedures and sell such Pharmacy
Assets at either a private or public sale, subject to Court approval of any alternative sale method.
Furthermore, the Debtors may determine in their discretion whether to proceed with a sale of any
Pharmacy Asset pursuant to these Bidding Procedures.



1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
     Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
     R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
     Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
     LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
     (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
2    All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Bidding
     Procedures Order.
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B.     Due Diligence.

        To receive due diligence information, including full access to the Debtors’ electronic data
room and to receive additional non-public information regarding the Debtors, a potential bidder
(“Potential Bidder”) must deliver (or have delivered) to each of: (i) Houlihan Lokey, 225 South
6th Street, Minneapolis, Minnesota 55402, Attn: Matt Pruitt (mpruitt@hl.com), Eric Wodrich
(ewodrich@hl.com), and Eric Kang (ekang@hl.com); and (ii) proposed counsel to the Debtors,
Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Steven
Serajeddini        (steven.serajeddini@kirkland.com)           and         Daniel        Rudewicz
(daniel.rudewicz@kirkland.com), and Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois
60654,     Attn:    Travis    Bayer    (travis.bayer@kirkland.com)        and     Jamie    Netznik
(jamie.netznik@kirkland.com), the following documents (collectively, the “Preliminary Bid
Documents”):

               (a)     an executed confidentiality agreement, substantially in the form attached
                       hereto as Exhibit 1, to the extent the Potential Bidder has not already
                       executed a confidentiality agreement on terms acceptable to the Debtors;
                       and

               (b)     proof by the Potential Bidder of its financial capacity to close a proposed
                       Transaction, which may include financial statements of, or verified
                       financial commitments obtained by, the Potential Bidder (or, if the Potential
                       Bidder is an entity formed for the purpose of acquiring the Pharmacy Assets,
                       the party that will bear liability for a breach), the adequacy of which will be
                       assessed by the Debtors (with the assistance of their advisors).

       Promptly after a Potential Bidder delivers Preliminary Bid Documents, the Debtors will
determine and notify the Potential Bidder whether such Potential Bidder has submitted acceptable
Preliminary Bid Documents so that the Potential Bidder may proceed to conduct due diligence and
ultimately submit an irrevocable, good faith, and bona fide offer (a “Bid”) and participate in the
Auction, as applicable. Except as otherwise provided herein, only those Potential Bidders that have
submitted acceptable Preliminary Bid Documents, as determined by the Debtors (each, an
“Acceptable Bidder”), may submit Bids.

         After the Debtors determine that a Potential Bidder is an Acceptable Bidder, the Debtors
will provide such Acceptable Bidder with access to reasonable due diligence information, as
requested by such Acceptable Bidder, as soon as reasonably practicable after such request. All due
diligence requests must be directed to Houlihan Lokey, Inc. (“Houlihan Lokey”) at the following
email address: shopko@hl.com. To the extent reasonably practicable, Houlihan Lokey will also
facilitate responses to such diligence requests at their discretion. The due diligence period will end
on the Bid Deadline (as defined below), and, subsequent to the Bid Deadline, the Debtors will have
no obligation to furnish any due diligence information.

C.     Eligibility of Bidders to Participate in Auction.

       To be eligible to bid for the sale of any Pharmacy Assets in this Bankruptcy Case and
otherwise participate in the Auction, each Acceptable Bidder must be determined, in the sole
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discretion of the Debtors, to be a Qualified Bidder (as defined below). The Debtors shall have the
sole right to determine whether a bidder is a Qualified Bidder.

D.     Qualification of Bidders.

       Except as otherwise set forth herein, to be considered for status as a Qualified Bidder and
to have a Qualified Bid, a bidder must:

       (i)     Deliver so as to be received before 4:00 p.m. (prevailing Central Time) on
               January 21, 2019 (the “Bid Deadline”), to Houlihan Lokey, 225 South 6th Street,
               Minneapolis, Minnesota 55402, Attn: Matt Pruitt (mpruitt@hl.com), Eric Wodrich
               (ewodrich@hl.com) and Eric Kang (ekang@hl.com); with a copy to the Debtors’
               proposed counsel, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New
               York 10022, Attn: Steven Serajeddini (steven.serajeddini@kirkland.com) and
               Daniel Rudewicz (daniel.rudewicz@kirkland.com), and Kirkland & Ellis LLP, 300
               North     LaSalle,    Chicago,     Illinois   60654,   Attn:     Travis   Bayer
               (travis.bayer@kirkland.com) and Jamie Netznik (jamie.netznik@kirkland.com), a
               written offer to purchase a portion of the Pharmacy Assets at issue (a “Qualified
               Bid” and each Acceptable Bidder that submits a Qualified Bid, a “Qualified
               Bidder”) that:

               (a)    Consists of (i) an executed form of the applicable agreement for sale that
                      may not deviate substantially from the terms of the applicable form asset
                      purchase agreement attached hereto as Exhibit 2 (such bidder’s executed
                      agreement, the “Bidder APA”); (ii) a Microsoft Word copy of the Bidder
                      APA; and (iii) a PDF “redline” showing any proposed revisions in the
                      Bidder APA against the form agreement.

               (b)    Identifies the Pharmacy Assets proposed to be purchased, which may
                      consist of either: (a) Pharmacy Files and Pharmacy Inventory associated
                      with one or more of the Pharmacies; (b) Pharmacy Inventory associated
                      with one or more of the Pharmacies; and/or (c) Pharmacy Files associated
                      with one or more of the Pharmacies.

               (c)    Provides that the Bid is severable by location of the Pharmacy and by
                      Pharmacy Files and Pharmacy Inventory if such Bid is not determined by
                      the Debtors to be the Successful Bid or Backup Bid that becomes the
                      Successful Bid with respect to the applicable Pharmacy Asset.

               (d)    Is accompanied by a completed bidder registration form, substantially in the
                      form attached hereto as Exhibit 3 (the “Bidder Registration Form”), which
                      must detail which of the Pharmacy Assets up for sale the Qualified Bidder
                      proposes to purchase and list an allocation of a portion of the aggregate
                      proposed purchase price to each of the Pharmacy Files or Pharmacy
                      Inventory associated with each Pharmacy (on a location-by-location basis)
                      included in its total Bid.
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                 (e)      Contains no contingencies to the validity, effectiveness, and/or binding
                          nature of the Bid, including contingencies for regulatory review or approval,
                          due diligence or inspection, or financing of any kind.

                 (f)      Provides in the Bidder APA the bidder’s proposed dates on which it prefers
                          to consummate the transactions for each Pharmacy as contemplated by the
                          Bidder APA; provided, however, that such proposed date shall be no earlier
                          than one (1) business day after the conclusion of the Transaction Hearing
                          and no later than fifteen (15) business days after the conclusion of the
                          Auction; provided, further, that bidder acknowledges that the Debtors have
                          the right to determine the dates on which to consummate the transactions
                          for each Pharmacy.

                 (g)      Demonstrates, to the Debtors’ satisfaction, that the bidder has the capacity
                          to consummate the Transaction it is proposing within fifteen (15) business
                          days.

                 (h)      Includes a statement from the bidder that: (i) it is prepared to enter into and
                          consummate the Transactions contemplated in the Bidder APA immediately
                          upon entry by the Court of an order approving the sale of the assets to such
                          bidder; and (ii) the Qualified Bid, if determined to be a Successful Bid
                          (defined below), or Backup Bids (defined below), will then be irrevocable
                          for a period of fifteen (15) business days after the conclusion of the Auction.

        (ii)     ALL QUALIFIED BIDS SHALL BE DEEMED IRREVOCABLE,
                 NOTWITHSTANDING ANY CONDITIONS LISTED IN THE
                 APPLICABLE AGREEMENT. IN THE EVENT THAT A BIDDER SEEKS
                 TO REVOKE SUCH BID, THE DEBTORS SHALL BE ENTITLED TO
                 KEEP SUCH BIDDER’S DEPOSIT AND PURSUE ALL OTHER
                 CONTRACTUAL REMEDIES UNDER LAW OR EQUITY.

        (iii)    No later than January 22, 2019, at 4:00 p.m. (prevailing Central Time), tender an
                 earnest money deposit of 10.0% of the proposed purchase price for the Pharmacy
                 Assets attributable to the Pharmacy Files proposed to be purchased (the “Qualified
                 Bidder Deposit”) by cashier’s or certified check or wire transfer of immediately
                 available funds, which deposit shall be held in a separate account for the benefit of
                 the Debtors in accordance with the terms of the Bidder APA. 3 If a Qualified Bidder
                 increases its Bid at the Auction and is the Successful Bidder such bidder must
                 increase its Qualified Bidder Deposit to match the proposed purchase price
                 submitted at the Auction. The wire transfer or check memo line must include (a) the
                 company name listed on the Bidder Registration Form and (b) the pharmacy
                 location(s) that correspond to the Bid.




3   For the avoidance of doubt, these funds are not property of the Debtors.
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E.     Rejection of “Qualified Bid” Status for Non-Conforming Bids.

       The Debtors shall determine in their discretion which bids qualify as Qualified Bids and
which bids shall be rejected as non-confirming bids. The Debtors shall have the right to reject bids
as non-conforming bids; provided, however, the Debtors shall have the right, but not the obligation,
to negotiate with any bidder with respect to clarification of any Bid.

F.     Bid Deadline.

       All Qualified Bids must be submitted to the Debtors and the Debtors’ counsel in
accordance with paragraph D (above) so as to be received not later than the Bid Deadline.

G.     Terms of Auction.

       The Debtors will conduct the Auction on the following terms:

       (i)     Time, Date and Location of Auction; Adjournment of Auction; Appearance of
               Qualified Bidders at Auction. The Auction will take place at the offices of
               Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654. The Auction
               will be conducted on January 23, 2019, at 9:00 a.m. (prevailing Central Time),
               and the Debtors will post notice of the Auction on the Debtors’ case website:
               https://cases.primeclerk.com/shopko. The Debtors may modify the date, time, and
               place of the Auction by providing written notice to Qualified Bidders and filing a
               notice with the Court.

       (ii)    Permitted Attendees at Auction. Unless otherwise ordered or directed by the
               Court, only representatives of the Debtors, any Qualified Bidders (and the
               professionals for each of the foregoing), and any other parties or potential bidders
               specifically invited or permitted to attend by the Debtors shall be entitled to attend
               the Auction.

       (iii)   Pharmacy Asset Lots. At or before the Auction, the Debtors may group certain
               Pharmacy Assets into lots (“Lots”), and the Debtors reserve the right to change the
               Lots before or at the Auction.

       (iv)    Auction Bid Submission Procedures. Auction bidding shall be subject to the
               following procedures:

               (a)     For a Qualified Bid to be considered and in order for a Qualified Bidder to
                       further bid at the Auction, Qualified Bidders must appear in person at the
                       Auction, or through a duly authorized representative, unless alternative
                       arrangements are agreed upon in advance by the Debtors.

               (b)     Qualified Bidders and any other parties or potential bidders shall be entitled
                       to make any subsequent bids for any Pharmacy Assets at the Auction.

               (c)     Bidding will commence with the announcement of the highest or otherwise
                       best Qualified Bid with respect to each Lot, which shall be determined
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                     solely by the Debtors in their business judgment. Any Qualified Bidder may
                     then submit successive bids in minimum increments, which will be
                     determined by the Debtors at each Auction, and which will equal 5% (or
                     more) of the total dollar value of the Pharmacy Assets being sold in the Lot
                     (the “Minimum Overbid Amount”). The Minimum Overbid Amount may
                     be different with respect to each asset or group of assets being auctioned.

              (d)    If one or more Qualified Bids are received by the Debtors, each such
                     Qualified Bidder shall have the right to improve its respective bid at the
                     Auction.

              (e)    Each successive bid submitted by any bidder at the Auction must contain a
                     purchase price that, as determined by the Debtors, exceeds the then existing
                     highest or otherwise best bid by at least the Minimum Overbid Amount.

              (f)    At commencement of the Auction, the Debtors may announce procedural
                     and related rules governing the Auction, including time periods available to
                     all Qualified Bidders to submit successive bid(s) in an amount equivalent to
                     at least the Minimum Overbid Amount.

      (v)     No Collusion. Each Qualified Bidder participating at the Auction will be required
              to confirm on the record at the Auction that (i) it has not engaged in any collusion
              with respect to the bidding, and (ii) its Qualified Bid is a good-faith bona fide offer
              and it intends to consummate the proposed Transaction if selected as the Successful
              Bidder.

      (vi)    Selection of Successful Bid. The Auction shall continue until there is only one bid
              remaining to purchase each of the Pharmacy Assets that the Debtors determine in
              their sole discretion, subject to Court approval, is the highest or otherwise best
              Qualified Bid with respect to such Pharmacy Assets (each such bid, a “Successful
              Bid” and each such bidder, a “Successful Bidder”). In making this decision, each
              Debtor shall consider the amount of the purchase price, the form of consideration
              being offered, the contents of the Bidder APA, the likelihood of such Qualified
              Bidder’s ability to close the Transaction, the timing thereof, and the net benefit to
              the estates. Upon designation by the Debtors, the Successful Bidder shall have such
              rights and responsibilities of the purchaser, as set forth in the Bidder APA. Prior to
              the hearing on the Transaction (the “Transaction Hearing”), the Successful Bidder
              shall complete and execute a final or revised Bidder APA, as necessary to conform
              to the terms of the Auction, and all other agreements, contracts, instruments, and
              other documents evidencing and containing the terms and conditions upon which
              the Successful Bid was made (such documents collectively, the “Successful Bidder
              Sale Documents”). The Successful Bid shall be irrevocable for a period of fifteen
              (15) business days after the conclusion of the Auction.

      (vii)   Selection of Backup Bidders. The bidder of the second highest or otherwise best
              bid for a portion or all of the Pharmacy Assets may be deemed by the Debtors as a
              backup bidder (such bidder the “Backup Bidder” and such bid the “Backup Bid”).
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               For the avoidance of doubt there may be multiple Backup Bidders. If the Debtors
               so designate a bidder as a Backup Bidder, such Backup Bidder shall be required to
               complete and execute a purchase agreement in form and substance reasonably
               acceptable to the Debtors memorializing, among other things, the amount of the
               Backup Bid (the “Backup Bidder APA”). Upon the failure of the Successful Bidder
               to timely execute Successful Bidder Sale Documents acceptable to the Debtors or
               consummate its purchase of the Pharmacy Assets, pursuant to the terms of the
               Successful Bidder Sale Documents, the Debtors shall promptly file a supplemental
               notice seeking to approve the sale to the Backup Bidder, if applicable, on expedited
               notice and a hearing. The Backup Bidder APA shall be irrevocable for a period of
               fifteen (15) business days after the conclusion of the Auction.

       (viii) Irrevocability of Bids; Rejection of Bids. A Qualified Bid must be irrevocable
              unless and until the Debtors accept a higher Bid and such Qualified Bidder is not
              selected as the Backup Bidder. Unless determined by the Debtors to be the
              Successful Bid or Backup Bid, all other Qualified Bids and all other successive bids
              at the Auction shall be deemed rejected at the conclusion of the Auction.

H.     Transaction Hearing.

        The Court shall hold a Transaction Hearing on January 28, 2019 at 1:00 p.m. (prevailing
Central Time) to approve the sale of the Pharmacy Assets, if any. The Transaction Hearing will
be held at the United States Bankruptcy Court for the District of Nebraska. At the Transaction
Hearing, the Debtors will seek entry of an order approving and authorizing the proposed sale to
the Successful Bidder(s). The Debtors shall ascertain whether the Successful Bidder and the
Backup Bidder are insiders of one or more of the Debtors, whether the sale represents an arm’s-
length transaction between the parties, made without fraud or collusion, and whether there has
been any attempt by either party to take any unfair advantage of the other such that the Successful
Bidder or Backup Bidder may be deemed to be purchasing the Pharmacy Assets in good faith
pursuant to 11 U.S.C. § 363(m). At the Transaction Hearing, the Debtors shall make a record of
these findings with respect to the Successful Bidder and any order approving the Transactions shall
include such findings in order to approve the sale to the Successful Bidder(s) pursuant to 11 U.S.C.
§ 363(m). The Transaction Hearing may be adjourned or rescheduled without notice other than by
announcement of the adjourned date at the Transaction Hearing or the Debtors’ filing notice of a
rescheduled Transaction Hearing with the Court.

       In the event the Successful Bidder does not close for any given Pharmacy Asset, the
Debtors will promptly file a supplemental notice on or before the closing deadline in the relevant
agreement, seeking to approve the sale to the Backup Bidder. The Backup Bidder shall not be
approved at the Transaction Hearing.

I.     Closing.

       The closing of the sale of the Pharmacy Assets will occur in accordance with the terms of
the Successful Bidder Sale Documents or the purchase agreement of the entity otherwise
authorized by the Court to purchase the Pharmacy Assets, as applicable.
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J.     Failure of Successful Bidder to Consummate Purchase.

        If any Successful Bidder fails to consummate the purchase of the applicable Pharmacy
Assets pursuant to the terms of the Successful Bidder Sale Documents, and such failure is the result
of such Successful Bidder’s breach of, or default or failure to perform under, any Successful Bidder
Sale Documents or the terms of these Bidding Procedures (the “Defaulting Bidder”), and/or fails
to cooperate with the Debtors and their advisors to contest any objections to the purchase of the
applicable Pharmacy Asset(s) and to appear for testimony, as needed, such Defaulting Bidder’s
Qualified Bidder Deposit shall be forfeited to the Debtors as liquidated damages, and the Debtors
shall have all rights and remedies available under applicable law.

K.     Disclosures.

       Qualified Bidders shall disclose to the Debtors all communications with other Qualified
Bidders following the submission of a Qualified Bid until the sale of the Pharmacy Assets is
consummated.

L.     Commissions.

        The Debtors shall be under no obligation to pay commission to any agent or broker, with
the exception of any agent or broker retained by the Debtors. All commissions, fees, or expenses
for agents, other than as retained by the Debtors, may be paid by bidders at such bidder’s discretion.

M.     No Representation; Qualified Bidder’s Duty to Review.

         Except as set forth in any executed purchase agreement approved by the Court, the Debtors
are not making and have not at any time made any warranties or representations of any kind or
character, express or implied, with respect to the Pharmacy Assets, including, but not limited to,
any warranties or representations as to habitability, merchantability, fitness for a particular
purpose, title, zoning, tax consequences, latent or patent physical or environmental condition,
utilities, operating history or projections, valuation, governmental approvals, the compliance of
the Pharmacy Assets with governmental laws (including accessibility for handicapped persons),
the truth, accuracy, or completeness of any documents related to the Pharmacy Assets, or any other
information provided by or on behalf of the Debtors to a bidder, or any other matter or thing
regarding the Pharmacy Assets. All bidders must acknowledge and agree that upon closing the
Debtors shall sell and transfer to the Successful Bidder and the Successful Bidder shall accept the
Pharmacy Assets “AS-IS, WHERE IS, WITH ALL FAULTS,” except to the extent expressly
provided otherwise in the Court’s order approving the sale. All bidders must agree that they have
not relied on and will not rely on, and the Debtors are not liable for or bound by, any express or
implied warranties, guaranties, statements, representations, or information pertaining to the
Pharmacy Assets or relating thereto (including, specifically, information regarding the Pharmacy
Assets distributed with respect to such assets) made or furnished by the Debtors or any agent
representing or purporting to represent the Debtors, to whomever made or given, directly or
indirectly, orally or in writing, unless specifically set forth in the Court’s order approving the sale.

N.     Reservation of Rights.

       The Debtors reserve their rights to modify these Bidding Procedures, in their business
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judgment, in any manner that will best promote the goals of these Bidding Procedures, or impose,
at or prior to the Auction, additional customary terms and conditions on Transactions, including:
(a) extending the deadlines set forth in these Bidding Procedures; (b) adjourning the Auction at
the Transaction Hearing; (c) adding procedural rules that are reasonably necessary or advisable
under the circumstances for conducting the Auction; (d) canceling the Auction; (e) rejecting any
or all Bids or Qualified Bids; and (f) deeming any Bid a Qualified Bid or any bidder a Qualified
Bidder. Nothing in these Bidding Procedures shall abrogate the fiduciary duties of the Debtors.

O.     Consent to Jurisdiction.

        All Qualified Bidders at the Auction shall be deemed (i) to have consented to the
jurisdiction of the Court and (ii) to have waived any right to a jury trial in connection with any
disputes relating to the Auction, the construction, and enforcement of these Bidding Procedures.

P.     Return of Qualified Bidder Deposit.

        The Qualified Bidder Deposit of the Successful Bidder shall be applied to the purchase
price of any Transaction that closes with respect to that Qualified Bidder. The Qualified Bidder
Deposits for each Qualified Bidder shall be held in a separate account for the benefit of the Debtors
in accordance with the terms of the Bidder APA and shall be returned (other than with respect to
the Successful Bidder and the Backup Bidder) on the date that is ten (10) business days after the
close of the Auction.

Q.     Fiduciary Out.

        Nothing in these Bidding Procedures shall require each Debtor’s management or board of
directors to take any action, or to refrain from taking any action, with respect to these Bidding
Procedures, to the extent each Debtor’s management or board of directors determines, or based on
the advice of counsel, that taking such action, or refraining from taking such action, as applicable,
is required to comply with applicable law or its fiduciary obligations under applicable law.

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                                     Exhibit 1

                             Confidentiality Agreement
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                               CONFIDENTIALITY AGREEMENT
                                             (Mutual Disclosures)

        THIS CONFIDENTIALITY AGREEMENT ("Agreement") is entered into effective this ____
day of ___________, 2019 between ___________________, a _______________ corporation with offices
at ________________________________ (“Company”), and SHOPKO STORES OPERATING CO., LLC,
a Delaware limited liability company with offices at 700 Pilgrim Way, Green Bay, WI 54307, ("ShopKo").

         1. Confidential Information. ShopKo and Company wish to conduct preliminary discussions
concerning the possibility of establishing a business relationship between ShopKo and Company. This
information is being collected for the sole purpose of evaluating a potential purchase and sale of pharmacy
assets (the "Permitted Use”). In the course of such discussions, either party may obtain certain non-public
information or data with respect to the other party’s business operations, which may include, without
limitation, descriptions of ShopKo’s strategic plans, the identity of one or more other parties with whom
ShopKo does business, descriptions of non-public transaction structure proposals, descriptions of ShopKo’s
and other entities’ business operations, financial performance figures, financial projections, business,
customers, computer systems, inventory systems, distribution networks, strategies, store operations, billing
and receivable operations, healthcare information including claims, strategies, systems development, and
software, technical systems and product development methodologies and strategies, marketing and
operational procedures and strategies, financial information and projections, business plans and client lists
and other similar information. Any such information disclosed by either party to the other party, whether
provided before or after the date of this Agreement, including, for the avoidance of doubt, the existence and
contents of this Agreement, is hereinafter referred to as the "Confidential Information."

         2. Corporate Affiliates. This Agreement is intended to encompass the corporate affiliates of both
parties hereto. Consequently, affiliates of either party may disclose Confidential Information to the other
party or its affiliates, and affiliates of either party may receive Confidential Information from the other party
or its affiliates. The terms "disclosing party" and "receiving party" shall include affiliates of the parties
hereto with respect to Confidential Information disclosed or received by the affiliates. The rights and
obligations of the parties hereto shall inure to the benefit of their respective corporate affiliates and may be
directly enforced by such affiliates.

         3. Use of Confidential Information. The receiving party acknowledges the economic value to the
disclosing party of all Confidential Information. With respect to Confidential Information, the recipient
shall:

        (a)      use the Confidential Information only for the Permitted Use;
        (b)      restrict disclosure of (i) the Confidential Information; (ii) the fact that the Confidential
                 Information is being disclosed by or to either party; and (iii) the fact that discussions in
                 connection with the Permitted Use are taking place; solely to those employees of such party
                 and its affiliates with a "need to know" and not disclose it to any other person or entity
                 without the prior written consent of the disclosing party;
        (c)      advise those employees who gain access to Confidential Information of their obligations
                 with respect to the Confidential Information;
        (d)      make only the number of copies of the Confidential Information necessary to disseminate
                 the information to those employees who are entitled to have access to it, and ensure that all
                 confidentiality notices set forth on the Confidential Information are reproduced in full on
                 such copies; and
        (e)      safeguard the Confidential Information with the same degree of care to avoid unauthorized
                 disclosure as recipient uses to protect its own confidential and private information of a
                 similar nature (but in no event less than a reasonable degree of care).
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For the purposes of this Agreement only, "employees" includes outside counsel, investment bankers,
accountants and other professional advisors. A "need to know" means that the employee requires the
Confidential Information in order to perform his or her responsibilities in connection with the Permitted
Use.

All communication between the parties with respect to the Permitted Use will be channeled only through
designated individuals at each party's respective offices at the above-referenced addresses. Except to the
extent required by law or by any securities exchange, neither party will make, or permit to be made by any
of their affiliates, directors, officers, employees, representatives or agents any public statement or press
release regarding the Permitted Use or the fact that discussions with regard to the Permitted Use are taking
place without first consulting with the other party so that such public statement or press release may be
jointly issued by the parties. No such public statement or press release shall be made or issued by either
party unless and until jointly approved by both parties.

        4. Exceptions: The obligations of Paragraph 3 shall not apply to any Confidential Information
which the recipient can demonstrate:

        (a)     is or becomes available to the public through no breach of this Agreement;
        (b)     was previously known by the recipient without any obligation to hold it in confidence;
        (c)     is received from a third party free to disclose such information without restriction;
        (d)     is independently developed by the recipient without the use of Confidential Information of
                the disclosing party;
        (e)     is approved for release by written authorization of the disclosing party, but only to the
                extent of and subject to such conditions as may be imposed in such written authorization;
        (f)     is required by law or regulation to be disclosed, but only to the extent and for the
                purposes of such required disclosure; or
        (g)     is disclosed in response to a valid order of a court or other governmental body of the
                United States or any political subdivisions thereof, but only to the extent of and for the
                purposes of such order; provided, however, that the recipient shall first notify the
                disclosing party of the order and permit the disclosing party to seek an appropriate
                protective order.

        5. Securities Laws. Each party acknowledges that Federal securities laws prohibit any person
or entity who has material, non-public information about a publicly-traded company (such as the
Confidential Information) from purchasing or selling securities of such company or from its parent
company, or from communicating such information to any other person or entity under circumstances in
which it is reasonably foreseeable that such person or entity is likely to sell or purchase such securities.

        6. Return of Information. Confidential Information, including permitted copies, shall be
deemed the property of the disclosing party. The recipient shall, within twenty (20) days of a written
request by the disclosing party, return all Confidential Information, including all copies thereof, to the
disclosing party or, if so directed by the disclosing party, provide written certification that all
Confidential Information has been destroyed in a manner which preserves its confidentiality.

        7. Reasonableness; Remedies. Both parties acknowledge that these covenants are reasonable
and necessary for the protection of the proprietary interests of each other and agree that an impending or
existing violation of any provision of this Agreement may cause the disclosing party irreparable injury
for which it would have no adequate remedy at law, and that the disclosing party shall be entitled to seek
immediate injunctive relief prohibiting such violation, in addition to any other rights and remedies
available to it. Each party agrees to reimburse the other party (if successful on the merits) for all court
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costs and legal fees, including reasonable attorney’s fees, incurred in enforcing this Agreement or
obtaining relief hereunder.

       8. Miscellaneous.

       a.      Nothing contained in this Agreement or in any discussions undertaken or disclosures
       made pursuant hereto shall (i) be deemed a commitment on the part of ShopKo to engage in any
       business relationship, contract or future dealing with Company or any other party, or (ii) limit
       either party's right to conduct similar discussions or perform similar work to that undertaken
       pursuant hereto, so long as said discussions or work do not violate this Agreement.

       b.      No patent, copyright, trademark or other proprietary right is licensed, granted or
       otherwise transferred by this Agreement or any disclosure hereunder, except for the right to use
       such information in accordance with this Agreement. Unless otherwise agreed to in writing by
       the parties, no warranties of any kind are given with respect to the Confidential Information
       disclosed under this Agreement, except each party warrants to the other that: (i) the party
       providing the Confidential Information is the owner of such information; (ii) the provision of any
       of the Confidential Information hereunder shall not violate or conflict with any third party’s legal
       (contractual or otherwise) rights with respect to such information.

       c.      This Agreement shall be effective as of the date first written above and shall continue
       until terminated by either party upon thirty (30) days prior written notice. All obligations
       undertaken respecting Confidential Information already provided hereunder shall survive any
       termination of this Agreement and remain in effect for a period of three (3) years after the date of
       this Agreement.

       d.      This Agreement may not be assigned by either party without the prior written consent of
       the other, except to any of their respective affiliates upon prior written notice. No permitted
       assignment shall relieve a party of its obligations hereunder with respect to Confidential
       Information disclosed to that party prior to the assignment. Any assignment in violation of this
       Section shall be void. This Agreement shall be binding upon the parties and their respective
       successors and assigns.

       e.      If any provision of this Agreement shall be held invalid or unenforceable, such provision
       shall be deemed deleted from this Agreement and replaced by a valid and enforceable provision
       which so far as possible achieves the parties' intent in agreeing to the original provision. The
       remaining provisions of this Agreement shall continue in full force and effect.

       f.       Each party (i) warrants that it has the authority to enter into this Agreement and to
       lawfully make the disclosures contemplated hereunder and (ii) expressly agrees that with respect
       to this Agreement facsimile signatures are binding on the parties.

       g.      This Agreement represents the entire understanding between the parties with respect to
       the subject matter hereof that supersedes all prior communications, agreements and
       understandings relating thereto. The provisions of this Agreement may not be modified, amended
       or waived, except by a written instrument duly executed by both parties. This Agreement shall be
       governed in all respects by the laws of the State of Wisconsin, without regard for conflict of laws
       principles.
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       IN WITNESS WHEREOF, the parties have caused this Confidentiality Agreement to be duly
executed as of the day and year first above written.


                            COMPANY:_________________________________

                            By: ________________________________________
                            Name: _____________________________________
                            Title: ______________________________________




                            SHOPKO STORES OPERATING CO., LLC

                            By: ________________________________________
                            Name: _____________________________________
                            Title: ______________________________________
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                                     Exhibit 2

                             Asset Purchase Agreement
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                             ASSET PURCHASE AGREEMENT

       This ASSET PURCHASE AGREEMENT (“Agreement”) is made and entered into as of
the ____ day of ______________, 2019, by and between SHOPKO STORES OPERATING CO.,
LLC, a Delaware limited liability company (“Seller”), and [●], a [●] (“Buyer”).

                                         WITNESSETH:

        WHEREAS, on [●] the Seller and its subsidiaries filed voluntary petitions for relief under
Chapter 11 of Title 11, United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in
the United States Bankruptcy Court for the District of Nebraska (the “Bankruptcy Court”)[, which
are being jointly administered under the caption In re [________], Case No. [________]] (the date
of such filing, the “Petition Date” and Seller’s and its subsidiaries’ Chapter 11 cases administered
in respect of such filing, the “Bankruptcy Cases”).

       WHEREAS, Seller is continuing to manage its properties and operate its businesses as
debtors-in-possession under the jurisdiction of the Bankruptcy Court and in accordance with the
applicable provisions of the Bankruptcy Code;

        WHEREAS, Buyer desires to purchase the Acquired Assets (as defined below) from
Seller, and Seller desires to sell, convey, and transfer to Buyer the Acquired Assets in a sale
authorized by the Bankruptcy Court pursuant to, inter alia, Sections 105, 363, and 365 of the
Bankruptcy Code, all on the terms and subject to the conditions set forth in this Agreement and
the Bankruptcy Court’s order approving this Agreement (such order, the “Sale Order”);

        WHEREAS, the Acquired Assets shall be purchased by Buyer pursuant to the Sale Order
approving such sale, free and clear of all claims and encumbrances, pursuant to Sections 105, 363
and 365 of the Bankruptcy Code, and Rules 6004 and 6006 of the Federal Rules of Bankruptcy
Procedure, all in the manner and subject to the terms and conditions set forth in this Agreement
and the Sale Order and in accordance with other applicable provisions of the Bankruptcy Code and
the Federal Rules of Bankruptcy Procedure and the local rules for the Bankruptcy Court (together,
the “Bankruptcy Rules”);

        WHEREAS, Seller owns and operates a prescription pharmacy in certain premises at the
location or locations listed on EXHIBIT A (the “Premises”);

       WHEREAS, Buyer desires to purchase from Seller its stock of Prescription Drugs (defined
below), and Seller’s prescription files (as hereinafter described) located on the Premises; and

      WHEREAS, Seller desires to sell said inventory and files upon the terms, covenants and
agreements hereinafter provided;

         NOW, THEREFORE, in consideration of the covenants and agreements set forth below,
it is hereby mutually agreed by and between Seller and Buyer as follows:

       1.      Seller agrees to sell to Buyer, and Buyer agrees to purchase from Seller upon the
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terms, covenants and agreements contained in this Agreement, the following described personal
property located at each of the Premises (the “Acquired Assets”):

               (a)     other than as set forth on Schedule 1(a), Seller’s stock of “Prescription
Drugs” (defined as all brand name and generic drugs required by law to be dispensed under the
supervision of a registered or licensed pharmacist) at each of the Premises, which does not have a
manufacturer’s expiration date within thirty (30) days after the applicable Closing Date for such
Premises (the “Inventory”); and

               (b)     any and all prescription files and records, pharmacy customer lists and
patient profiles maintained by Seller, including any of such files or records maintained by
computer, for the two (2) year period immediately prior to the applicable Closing Date and located
at, and for pharmacy customers serviced from, the Premises as of the applicable Closing Date for
such Premises (collectively referred to as “Records”).

        2.       (a)     Buyer agrees to pay for the Acquired Assets as follows (the sum of clauses
(i) and (ii) below, the “Purchase Price”):

                     (i)     For the Inventory to be sold hereunder, the purchase price as
determined by the physical inventory to be taken in accordance with Section 3(b) (the “Inventory
Price”); and

                     (ii)    For the Records, the sum of the purchase prices listed on EXHIBIT
A (the “Records Purchase Price”).

                (b)     Prior to or concurrently with the execution of this Agreement, Buyer shall
deposit an amount equal to $[●]1 (the “Deposit”) by wire transfer of immediately available funds
to [●]2, which will be held and distributed in accordance with the terms of this Agreement. Upon
valid termination of this Agreement with respect to any Premises by Seller pursuant to Section
4(f)(i), the portion of the Deposit applicable to such Premises shall be forfeited to Seller as
liquidated damages, the parties shall cause to be paid such portion of the Deposit to Seller, and,
without limiting the foregoing, Seller shall have all other rights and remedies available under law.
Upon any other valid termination of this Agreement with respect to any Premises pursuant to
Section 4(f), the portion of the Deposit applicable to such Premises (calculated by taking 10% of
the Records Purchase Price set forth on EXHIBIT A with respect to such Premises) shall be
required to be returned to Buyer and the parties shall cause to be paid such portion of the Deposit
to Buyer.

       3.      (a)     The Parties agree that Seller will engage [●]3 (the “Data Converter”) to
convert the prescription files and record data included in the Records (the “Record Data”) to the
standard [●] data pull format. Seller agrees to provide such reasonable access, information and
cooperation to the Data Converter as may be required to enable the Data Converter to deliver the
Record Data to Buyer on the applicable Closing Date. In the event that the Record Data is not

1
  Note to Draft: To be an amount equal to 10% of the Records Purchase Price.
2
  Note to Draft: To insert deposit account details.
3
  Note to Draft: Buyer to insert one of (i) Two Point or (ii) Infowerks.

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delivered to Buyer as of the applicable Closing Date, Seller shall provide Buyer with reasonable
access to the Records following such Closing Date until the Data Converter delivers the Record
Data to Buyer. Notwithstanding anything herein to the contrary, Seller will only be obligated to
provide the Record Data to Buyer in the standard [●] data pull format.

                (b)     Seller shall hire a service reasonably acceptable to Buyer, as an independent
inventory service (the “Inventory Service”), to conduct a physical inventory of the Inventory at each
of the Premises on or as soon as reasonably practicable following the Closing Date for such Premise
(or at such other time as the parties may agree in writing). The cost of taking the physical inventory
shall be borne by Buyer. Seller and Buyer agree that the Inventory shall be valued at its “Net
Acquisition Cost” as determined in accordance with Schedule 3(b) attached hereto. Buyer and Seller
agree to reasonably cooperate with each other to require that the Inventory Service provide a file to
Buyer as soon as practicable following the completion of the physical inventory count at each of the
Premises that includes the Net Acquisition Costs, the National Drug Codes (“NDC”) and the
quantities of the Inventory at such Premise (each such file, an “Inventory File”).

         4.     (a)     With respect to each of the Premises, the transactions contemplated by this
Agreement shall be consummated at a closing (each, a “Closing”) to be held at such Premise (or a
place to be agreed upon between Seller and Buyer) on the Closing Date set forth opposite such
Premise on EXHIBIT A, or on such other date as may be agreed upon in writing by Seller and Buyer;
provided that, in the event a Closing with respect to any Premise would occur pursuant to this Section
4(a) at a time when the Sale Order has not been entered by the Bankruptcy Court, such Closing shall
be delayed until such date on which the Sale Order has been entered by the Bankruptcy Court. The
date and event of each such Closing is referred to herein as a “Closing Date.”

               (b)     The following procedure shall be employed for each Closing:

                      (i)     At the Closing for each of the Premises, (A) Buyer shall pay to Seller
90% of the applicable portion and (B) the parties shall cause to be paid to Seller, from the Deposit,
10% of the applicable portion, in each case, of the Records Purchase Price set forth on EXHIBIT
A for the Records from such Premises.

                       (ii)    Promptly, and in any event within two (2) business days, following
receipt by Buyer of the Inventory File for each of the Premises, Buyer shall pay to Seller the
applicable portion of the Inventory Purchase Price, determined in accordance with Schedule 3(b)
and the Inventory File, for the Inventory from such Premises.

                      (iii)   At the Closing for each of the Premises, Seller shall execute and
deliver to Buyer a Bill of Sale, in the form attached hereto as EXHIBIT B, conveying to Buyer
complete and unencumbered title to the Records and Inventory to be sold under this Agreement
for such Premise.

                       (iv)  At the Closing for each of the Premises, Seller shall immediately
surrender possession of, and Buyer shall immediately take possession of, the Records for such
Premise. Buyer shall pay all data transfer costs related to the transfer of the Records from Seller
to Buyer for each of the Premises, including, for the avoidance of doubt, all fees and expenses of
the Data Converter.
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                      (v)     Upon payment by Buyer to Seller of the Inventory Purchase Price
for the Inventory from each of the Premises, Seller shall immediately surrender possession of, and
Buyer shall immediately take possession of, the Inventory for such Premises.

                        (vi)    Buyer agrees in the event that, prior to each applicable Closing Date,
Seller receives from any pharmacy customer any objection to the transfer of such pharmacy
customer’s prescription records to the Buyer’s pharmacy and/or any instruction from a pharmacy
customer to transfer said pharmacy customer’s prescription records to a pharmacy other than the
Buyer’s pharmacy, Seller shall be relieved of its obligation to transfer such pharmacy customer’s
prescription records to Buyer except to the extent that such a transfer is required by law. Buyer
further agrees that in the event a pharmacy customer objects, after the applicable Closing Date for
such Premises, to the transfer of such pharmacy customer’s prescription records to the Buyer’s
pharmacy, Buyer shall immediately transfer such pharmacy customer’s prescription records to the
location designated by such pharmacy customer and shall further purge said pharmacy customer’s
prescription records from Buyer’s files except to the extent Buyer is required by law to retain such
Records. For the avoidance of doubt, the Purchase Price to be paid by Buyer pursuant to this
Agreement shall not be reduced, or otherwise impacted, by any of the foregoing matters described
in this Section 4(b)(vi). The provisions of this Section 4(b)(vi) shall survive each Closing.

                       (vii) All payments made by Buyer to Seller pursuant to this Agreement
shall be made by electronic wire transfer or delivery of other immediately available funds pursuant
to the wire instructions attached hereto as EXHIBIT C.

                (c)      Seller and Buyer shall each use commercially reasonable efforts to comply
with all federal, state or local laws, regulations, ordinances and rules applicable to each respective
party and relating to the sale of the Acquired Assets. The parties agree that Seller shall notify the
applicable State Boards of Pharmacy and post signage at each of the Premises (provided, however,
that Buyer shall comply with any other legal requirements to notify the public and/or patients of
each of the Premises), in each case, as soon as reasonably practicable after the date hereof. Each
of the parties shall provide a copy of the notices to be prepared pursuant to the preceding sentence
to the other party prior to the submission of such notice to the applicable State Boards of Pharmacy
or the public and/or patients. The form and content of any notification to the public and/or patients
of the Premises and of any signage posted at the Premises shall be subject to the prior approval of
both parties, not to be unreasonably withheld, conditioned or delayed.

                (d)      After the date hereof and prior to the Closing for each of the Premises, Buyer
shall have the opportunity to interview and discuss post-Closing employment opportunities with
Seller’s employees of the applicable Premises on a date acceptable to Buyer and Seller, and Seller
agrees to reasonably cooperate with Buyer if Buyer elects to hire any such employee of Seller
effective at or after the applicable Closing and such employee accepts such offer of employment.

                 (e)    Seller and Buyer agree to reasonably cooperate with each other and to use
their respective reasonable best efforts to take, or cause to be taken, all actions and to do, or cause
to be done, all things necessary to consummate the transactions contemplated hereby and to satisfy
the conditions to each applicable Closing as soon as reasonably practicable following the date

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hereof.

                (f)     Either party may terminate this Agreement with respect to any of the Premises
by written notice to the other party:

                       (i)     if such other party has materially breached any of its obligations
contained in this Agreement with respect to such Premise and such breach is not cured within three
(3) days following receipt by such other party of written notice of such breach; provided, however,
that no such termination may be made by a party if such party is in material breach of its obligations
under this Agreement; or

                       (ii)   if the applicable Closing for such Premise shall not have occurred on
or before the date that is 60 days following the date hereof; provided, however, that no such
termination may be made by a party if the failure of the applicable Closing to occur on or before such
date shall have been caused by the action or inaction of the terminating party.

          5.     (a)    Seller agrees that all of the Records are confidential information. From the
date of this Agreement and continuing for a period of twenty-four (24) months after the Closing Date
for each of the Premises, Seller will not, directly or indirectly, disclose any such confidential
information to others without the prior written consent of Buyer. The provisions of this Section 5(a)
shall not be applicable to (i) information which is a matter of public knowledge, (ii) information
which, after disclosure, becomes public knowledge other than through a breach of this Agreement,
(iii) information lawfully obtained or independently developed by Seller and (iv) information which
Seller is required by law, regulation or legal process to disclose.

                (b)     Following the Closing for each of the Premises, Seller shall terminate any
advertising and yellow pages agreements for the pharmacy in the Premises. At Buyer’s written
request and sole cost, commencing on the Closing Date for each of the Premises, Seller will arrange
for an outgoing message on Seller’s phone number for such Premises which directs physicians and
Seller’s pharmacy customers to a location and phone number designated by Buyer until the earlier
of (i) thirty (30) days following each applicable Closing Date and (ii) the date Seller ceases
operations at such Premises. In the event that Seller has a pharmacy-only phone number in
addition to a main-store phone number for the Premises, Seller and Buyer may arrange for the
transfer of the pharmacy-only phone number to Buyer.

                 (c)    Buyer and Seller agree that neither party shall produce any press releases or
other advertising related to this Agreement or the transactions contemplated hereby at any time
prior to or after each Closing unless otherwise agreed upon (as to both timing and content) by both
parties except as may be required by law, proceeding (including the Bankruptcy Cases), or stock
exchange rules or regulations; provided that in the event any such communication is required by
law, proceeding (including the Bankruptcy Cases), or stock exchange rules or regulations, the
disclosing party shall, to the extent permitted by law, provide the other party with a reasonable
opportunity to review and comment upon any such disclosure and shall take into consideration
such comments in good faith.

               (d)     Seller agrees that Buyer may, as of the Closing Date and ending on the

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earlier of (i) thirty (30) days after the Closing Date for each of the Premises and (ii) the date Seller
ceases operations at such Premises, post signs in the applicable Premises notifying customers that
the Records will be relocating to [●], subject to landlord consent. The content and location of such
signs shall be subject to Seller’s prior approval, not to be unreasonably withheld.

        6.      (a)    This Agreement is for the sale of certain specified assets only (i.e., the
Acquired Assets) and does not include Seller’s accounts receivable in any form, and Buyer shall
not assume any liability of any nature, except as expressly provided herein, as a result of the
transaction contemplated in this Agreement. Without limiting the generality of the foregoing,
Buyer does not assume any type of successor liability as to trade creditors, unemployment, income,
property, sales of other taxes, or otherwise.

                (b)     Seller represents and warrants that, as of the date of each Closing, none of
the Acquired Assets to be conveyed hereunder at such Closing will be subject to any lien, mortgage
or encumbrance, and all of said property shall be conveyed free and clear of any right, title or
interest of any entity or person, to the extent allowed under the Bankruptcy Code.

                (c)     The parties agree to use commercially reasonable efforts to comply fully
with the provisions of the United States Controlled Substance Act of 1970, as such act may relate
to the transfer of the Acquired Assets referred to herein, and with all applicable federal and state
laws as they may relate to the transfer of the Acquired Assets. Buyer shall comply with all
applicable laws and regulations that may relate to the maintenance and confidentiality of the
Records transferred hereunder. Seller (with the assistance of Buyer) shall notify the appropriate
governmental agencies, including the State Board of Pharmacy and the regional DEA office, of
the transfer described herein. Concurrently with Seller’s transfer of the Inventory to Buyer, Buyer
shall deliver to Seller one copy of a DEA order form for all controlled substances purchased
hereunder. At or promptly following the Closing for each of the Premises, Seller shall provide
Buyer with all hard copy records that are required to be transferred pursuant to CFR 1301.52. with
respect to controlled substances that are part of the Inventory (the “DEA Records”) for the two (2)
year period immediately prior to the date on which the physical inventory count at each of the
Premises is completed. Such DEA Records include DEA executed 222 forms and invoices;
invoices for Schedule III-V drugs; powers of attorney for all who executed DEA 222 forms to
purchase Schedule II drugs; all inventory records of controlled drugs (including initial inventory
and biennial inventory); all DEA 106s filed during such two-year timeframe; all transfers/sales of
controlled substances between pharmacies; all records of controlled drugs distributed, such as
returns to suppliers, returns to reverse distributor and sales to prescriber’s offices; and all daily
controlled substance dispensing reports.

                 (d)     Buyer agrees to cooperate with Seller and provide access to any of the
Records, the DEA Records and related Inventory after each Closing as necessary to respond to any
federal, state or third-party audit or investigation.

       7.      Seller represents and warrants to Buyer that Seller is a limited liability company
duly organized and in good standing under the laws of the State of Delaware, that it has full power
and authority to enter into and perform this Agreement.


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       Buyer represents and warrants to Seller that Buyer is a [●], duly formed and validly existing
in good standing under the laws of the State of [●], that it has full power and authority to enter into
and perform this Agreement, that it has not made an assignment for the benefit of creditors, that it
is not subject to the jurisdiction of any bankruptcy court nor has it entered into any other
arrangement or composition with creditors, that it has taken all appropriate action to enable it to
perform this Agreement, and that Buyer is duly licensed to operate a pharmacy as required under
applicable state law and is duly registered with the DEA.

        8.      All notices hereunder shall be in writing and sent by United States certified or
registered mail, postage prepaid, addressed, if to Seller, to Shopko Stores Operating Co., LLC,
Attn: Russell Steinhorst – CEO, 700 Pilgrim Way, Green Bay, Wisconsin 54304, with a copy to
Attn: Legal Department, Shopko Stores Operating Co., LLC, 700 Pilgrim Way, Green Bay,
Wisconsin 54304 and if to Buyer, [●]; provided that each party by like notice may designate any
further or different addresses to which subsequent notices shall be sent.

        9.     This Agreement shall bind and benefit the successors and permitted assigns of the
respective parties hereto. This Agreement shall not be assigned by any party hereto, by operation
of law or otherwise, without the prior written consent of the other party hereto, and any purported
assignment in contravention of this Section 9 shall be null and void and of no force and effect.

      10.    The risk of loss or damage to each of the Acquired Assets shall be upon Seller until
Buyer receives physical possession of any such Acquired Assets in accordance with this
Agreement.

        11.     This Agreement constitutes the entire agreement between the parties and supersedes
all prior offers, negotiations, and understandings, whether oral or written, with respect to this
transaction between the parties hereto and may only be modified by a writing executed by both
parties. The parties hereto agree and acknowledge that to the extent any terms and provisions of
this Agreement are in any way inconsistent with or in conflict with any term, condition or provision
of any other agreement contemplated hereby, this Agreement shall govern and control.

        12.     The representations, warranties and statements of each of Seller and Buyer
contained in this Agreement constitute the sole and exclusive representations, warranties and
statements (including by omission) of Seller and Buyer, as applicable, in connection with this
Agreement or the transactions contemplated hereby and all other purported representations,
warranties or statements (including by omission) are hereby disclaimed by Seller and Buyer. None
of the representations, warranties or statements of Seller or Buyer contained in this Agreement
shall survive the applicable Closing with respect to each of the Premises and each such
representation, warranty and statement shall terminate on and as of the applicable Closing, and no
claims may be brought with respect to such representations, warranties or statements from or after
the applicable Closing. Each of Buyer and Seller has and will only rely on the representations and
warranties of Seller or Buyer, as applicable, expressly and specifically set forth in this Agreement
and hereby expressly and irrevocably acknowledges and agrees that it has not relied on any other
representations, warranties or statements (including by omission) and shall not have any claim
with respect to its purported use of, or reliance on, any such representations, warranties or
statements (including by omission). Notwithstanding anything herein to the contrary, Buyer is

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acquiring the Acquired Assets on an "AS IS, WHERE IS" basis. In furtherance of the foregoing,
except for the rights expressly set forth in this Agreement, each party hereby waives and releases
the other party, such other party’s affiliates and each of their respective officers, directors,
employees, partners, members, managers, equityholders and representatives, to the fullest extent
permitted under applicable law, from and against any and all other rights, claims and causes of
action it may have against such other party or any of the other foregoing persons relating (directly
or indirectly) to the subject matter of this Agreement or the transactions contemplated hereby.

        13.     The parties each hereby waive compliance by Seller with the provisions of the "bulk
sales," "bulk transfer" or similar laws of any jurisdiction that may otherwise be applicable with
respect to the sale of any of the Acquired Assets and the other transactions contemplated hereby.
Upon request by Seller, Buyer shall deliver customary exemption certificates demonstrating
Buyer’s exemption from sales and use taxes for each of the jurisdictions in which the Premises are
located.

        14.     In the event of litigation between the parties in relation to the interpretation or
enforcement of this Agreement, the reasonable attorneys’ fees and court costs incurred by the party
prevailing in such litigation shall be borne by the non-prevailing party.

        15.    Buyer agrees that it will assist Seller in obtaining Bankruptcy Court approval of the
Sale Order and in contesting any objections to transactions contemplated hereby, including
furnishing affidavits or other documents or information as may be needed for filing with and
appearing for testimony at the Bankruptcy Court.

        16.      This Agreement and all claims, controversies and causes of action arising out of or
relating to this Agreement shall be governed by and construed in accordance with the laws of the
State of Delaware, including all matters of construction, validity, performance and enforcement.
Each party hereto hereby consents to the exclusive jurisdiction of the United States Bankruptcy
Court for the District of Nebraska with respect to all matters arising under or relating to this
Agreement. Each party hereto hereby irrevocably waives any objection on the grounds of venue,
forum non conveniens, or any similar grounds and irrevocably consent to service of process by
mail or in any other manner permitted by applicable law. EACH PARTY HERETO HEREBY
IRREVOCABLY WAIVES ALL RIGHT TO TRIAL BY JURY IN ANY LITIGATION,
ACTION, PROCEEDING, CROSS-CLAIM OR COUNTERCLAIM IN ANY COURT
(WHETHER BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR
RELATING TO (i) THIS AGREEMENT OR THE VALIDITY, PERFORMANCE,
INTERPRETATION OR ENFORCEMENT HEREOF OR (ii) THE ACTIONS OF SUCH
PARTY IN THE NEGOTIATION, AUTHORIZATION, EXECUTION, DELIVERY,
ADMINISTRATION, PERFORMANCE OR ENFORCEMENT HEREOF.

        17.    The parties hereto agree that irreparable damage would occur in the event that any
of the provisions of this Agreement were not performed in accordance with their specific terms or
were otherwise breached, and that money damages or legal remedies would not be an adequate
remedy for any such damages. Therefore, it is accordingly agreed that each party shall be entitled
to enforce specifically the terms and provisions of this Agreement, or to enforce compliance with,
the covenants and obligations of any other party, in any court of competent jurisdiction, and

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appropriate injunctive relief shall be granted in connection therewith. Any party seeking an
injunction, a decree or order of specific performance shall not be required to provide any bond or
other security in connection therewith and any such remedy shall be in addition and not in
substitution for any other remedy to which such party is entitled at law or in equity. For all
purposes of this Agreement, the parties hereto agree that time is of the essence.

       18.      This Agreement may be executed by facsimile or PDF copies in two or more
counterparts and once so executed by the parties hereto, each such counterpart shall be deemed to
be an original, but all such counterparts together shall constitute one agreement.

         19.     The Recitals and all exhibits attached hereto are incorporated into this Agreement
as if set forth in full herein.




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       IN WITNESS WHEREOF, this Agreement has been executed and delivered as of the
day and year first above written.


SELLER:             SHOPKO STORES OPERATING CO., LLC,
                    a Delaware limited liability company



                    By: _________________________
                    Its: _________________________



BUYER:              [●],




                    By: _________________________
                    Its: _________________________




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                                        Schedule 1(a)

The following merchandise shall not be included in Inventory purchased by Buyer:


1. Pharmacy inventory not in its original container or package (including overfills)
2. Pharmacy inventory not listed in the current Red Book or Blue Book
3. Sample Pharmacy Inventory
4. Zostavax
5. Repackaged pharmaceuticals
6. Store supplies
7. Thalomid, Isotretinoin (including brand names Accutane, Amnesteen, Claravis, Sotret)




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                                           Schedule 3(b)

                                 INVENTORY INSTRUCTIONS

In connection with the Purchase Agreement (the “Agreement”) by and among [●] (“Buyer”),
Shopko Stores Operating Co., LLC (“Seller”) and any other parties thereto, this Schedule 3(b)
sets forth the agreed upon methods, standards and procedures for counting and determining the
value of the Inventory to be purchased by Buyer.


       I.      GENERAL INSTRUCTIONS

       A.      At least one qualified representative of both Buyer and Seller must be present
throughout the inventory taking.

       B.     The inventory shall be counted by a national third-party inventory service, with
Buyer paying the cost of such service.

       C.      No pre-counting of inventory will be permitted.


       II.     CUT-OFF PROCEDURE

        A.    All merchandise received up to and including the date the physical inventory is
conducted (the “Inventory Date”) shall be included in the inventory. Seller shall be responsible
for the payment of all invoices for merchandise received up to and including the Inventory Date.


       III.    PHARMACEUTICAL INVENTORY

        A.      “Net Acquisition Cost” shall be determined as follows: Seller will provide a file
from its computer system to locate the Seller’s cost, which cost shall be the Net Acquisition
Cost, and provide same to the inventory counting service. In the event the inventory counting
service is unable to obtain the Seller’s cost from the file provided by Seller, then the parties agree
that the Net Acquisition Cost will be calculated as follows: AWP minus 20% for branded
products and AWP minus 80% for generic products to arrive at the net cost.

       B.      Open containers will be counted as tenths.

       C.      Items to be excluded from the sale will be pulled and accumulated at a
predesignated location for disposition at Seller’s expense.

       D.      Matters Related to Prescriptions. Prior to the Inventory Date, Seller shall use
reasonable efforts to fill and deliver to pharmacy customers any partial-fill prescriptions with a
remaining quantity balance (“IOU Prescriptions”). For any IOU Prescriptions remaining on the
Inventory Date, Seller shall credit the prescription to the customer or to the third-party payor, as

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appropriate, on the Inventory Date. Buyer assumes no liability for IOU Prescriptions. In
addition, prior to the Inventory Date, Seller shall reverse and return to stock any filled
prescriptions that have not been picked up, providing all necessary notice to any third-party
payors, and shall provide Buyer with a list of such prescriptions so that Buyer is prepared to fill
such prescriptions on or after the Inventory Date.

       E.      Buyer, Seller and the inventory service shall execute a breakdown report of the
inventory evaluation as calculated by the inventory service.




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                                     EXHIBIT A


          Premises            Closing Date    File Purchase Price   Buyer’s Store Location

 Shopko Pharmacy # [●]                               $ [●]




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                                           EXHIBIT B

                                         BILL OF SALE

        KNOW ALL MEN BY THESE PRESENTS, that for the consideration set forth in that
certain Purchase and Sale Agreement (the “Agreement”) dated _________, 2019 between
SHOPKO STORES OPERATING CO., LLC, a Delaware limited liability company (“Seller”),
and ______________________, a _________________ (“Buyer”), the receipt and sufficiency of
which is hereby acknowledged, Seller does hereby sell, convey, transfer and set over to Buyer, its
successors and assigns, all of Seller’s right, title and interest in and to the following personal
property contained in Seller’s retail prescription pharmacy located at __________________ and
as further identified in the Agreement:

       1.      All prescription drug inventory as described on Schedule A attached hereto*; and

       2.      Any and all prescription files and records, customer lists and patient profiles
               maintained by Seller, including any of such files or records maintained by
               computer, for the two (2) year period immediately prior to the applicable Closing
               Date and located at, and for pharmacy customers serviced from, the Premises
               identified in the Agreement as of the applicable Closing Date for such Premises.

       All capitalized terms not otherwise defined herein shall have the same meanings ascribed
to them in the Agreement.

       TO HAVE AND TO HOLD, the same unto Buyer, its successors and assigns forever.

       Seller hereby assigns and transfers to Buyer any and all warranties relating to said personal
property which may be lawfully assigned or transferred.

      IN WITNESS WHEREOF, Seller has hereunto caused this Bill of Sale to be executed this
_________ day of _____________, ____.


SHOPKO STORES OPERATING CO., LLC


By: _______________________________
Title: _____________________________


*Attach a copy of the Inventory Service inventory report.




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                                     EXHIBIT C

                    SELLER’S WIRE TRANSFER INSTRUCTIONS




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                                     Exhibit 3

                              Bidder Registration Form
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                        OFFER AND BIDDER REGISTRATION FORM

____________________________________________________________ (“Bidder”), hereby:
         Offers to purchase the following Pharmacy Assets for the bid set forth below, pursuant to
          this Offer & Qualified Bidder Form and the terms and conditions of the accompanying
          purchase agreement (the “Bidder APA”), and
         Seeks to become a Qualified Bidder pursuant to the terms and conditions of the Bidding
          Procedures for the Disposition of the Debtors’ Pharmacy Assets subject to approval by the
          United States Bankruptcy Court for the District of Nebraska in the chapter 11 cases of In
          re [________], Case No. [________] (the “Bidding Procedures”).
Bidder’s offer is for the following Pharmacy Assets at the following bids:

      PHARMACY         PHARMACY INVENTORY               PHARMACY FILES          TOTAL PHARMACY
                        BID/PURCHASE PRICE            BID/PURCHASE PRICE             ASSETS
                                                                               BID/PURCHASE PRICE
 1.


 2.


 3.


 4.


 5.


 6.


 7.


 8.


   Aggregate
 Purchase Price:




                                                  1
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Bidder hereby warrants and represents as follows:
 (a)   Bidder has received, reviewed, understands and agrees to abide by the terms and conditions
       of the Bidding Procedures, the terms and conditions of which are incorporated herein by
       reference.
 (b)   Bidder has received, reviewed and understands the terms and conditions of the Bidder
       APA, the terms and conditions of which are incorporated herein by reference.
 (c)   To the extent that the words and phrases which are capitalized in this Offer & Qualified
       Bidder Form have been defined in the Bidding Procedures or in the Bidder APA, those
       definitions are incorporated herein by reference.
 (d)   Each Bid made at the Auction shall constitute a binding, irrevocable “Bid” pursuant to the
       Bidding Procedures.
 (e)   Each Bid is and shall be a good faith, bona fide, irrevocable offer to purchase the Pharmacy
       Assets on an as-is, where-is basis, with no contingencies.
 (f)   Bidder (a) has relied solely upon its own independent review, investigation, and/or
       inspection of any documents and/or the Pharmacy in making its offer; (b) did not rely upon
       any written or oral statements, representations, promises, warranties or guaranties
       whatsoever, whether express or implied (by operation of law or otherwise), regarding the
       Pharmacy or the completeness of any information provided in connection therewith or the
       Auction other than as provided in the Bidder APA; and (c) is not entitled to any break-up
       fee, termination fee, expense reimbursement, or similar type of payment, (d) and by
       submitting a Bidder APA, waives, and shall be deemed to waive, the right to pursue a
       substantial contribution claim under § 503 of title 11 of the United States Code related in
       any way to the submission of its bid, the Bidding Procedures, or any earnest money deposit.
 (g)   Bidder is either not represented by a broker seeking a commission, or if Bidder is
       represented by a broker, Bidder exclusively authorizes broker to submit such offer on
       behalf of Bidder and that any commission or fee of any type due and payable to such broker
       as a result of a Transaction shall be paid solely by Bidder and Bidder shall indemnify the
       Debtors and their agents in this regard, and (ii) Bidder acknowledges that it will comply
       with the Bidding Procedures.
 (h)   Bidder acknowledges that, pursuant to, inter alia, 18 U.S.C. § 371, it is a federal crime to
       engage in collusive bidding or to chill the bidding.
 (i)   Bidder confirms that it has not engaged, and will not engage, in any collusion with respect
       to the bidding or the Transaction.
 (j)   Identification of how the Bidder will pay the purchase price at Closing.

                             [Signatures appear on following page]




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AGREED & ACCEPTED this ____ day of ___________, 2019



Company: __________________

By:________________________
Name:
Title:


BIDDER I.D.
Bidder’s Company: _____________________________________________________________
Bidder’s Address:
Bidder’s Contact:
Bidder’s Phone & Facsimile Numbers:
Bidder’s Email Address: _________________________________________________________
Bidder’s Tax ID Number:


ATTORNEY OR AUTHORIZED AGENT I.D.
Attorney or Agent Name:
Law Firm or Company: __________________________________________________________
Address:
Phone & Facsimile Numbers:
Email Address: ________________________________________________________________




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                                     Exhibit B

                                 Transaction Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                         )
In re:                                                                   ) Chapter 11
                                                                         )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                          ) Case No. 19-80064 (TLS)
                                                                         )
                          Debtors.                                       ) (Jointly Administered)
                                                                         )

         NOTICE OF HEARING, BID DEADLINE, AND TRANSACTION HEARING

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(the “Debtors”) are soliciting offers for the sale(s), liquidation(s), or other disposition(s) (such
sale(s), liquidation(s), or other disposition(s), the “Transaction(s)”) of the Debtors’ stock of
prescription pharmaceutical inventory located in the prescription pharmacies in the Debtors’ stores
(the “Pharmacy Inventory”) and/or the prescription files and records, pharmacy customer lists and
patient profiles (the “Pharmacy Files,” together with the Pharmacy Inventory, the “Pharmacy
Assets”) located at, and for customers serviced from, such prescription pharmacies (the
“Pharmacies”) consistent with the bidding procedures (the “Bidding Procedures”) 2 approved by
the United States Bankruptcy Court for the District of Nebraska (the “Court”) by entry of an order
on [●] [Docket No. [●]] (the “Bidding Procedures Order”). All interested bidders should
carefully read the Bidding Procedures and Bidding Procedures Order. To the extent that
there are any inconsistencies between this notice and the Bidding Procedures or the Bidding
Procedures Order, the Bidding Procedures or the Bidding Procedures Order, as applicable, shall
govern in all respects.

       PLEASE TAKE FURTHER NOTICE that the Bid Deadline is January 21, 2019, at
[4:00 p.m.] (prevailing Central Time), and that any person or entity who wishes to participate in
the Auction must comply with the participation requirements, bid requirements, and other
requirements set forth in the Bidding Procedures.

       PLEASE TAKE FURTHER NOTICE that the Debtors will conduct an Auction of the
Pharmacy Assets on January 23, 2019, at 9:00 a.m. (prevailing Central Time) at the offices of
Kirkland & Ellis LLP, located at 300 North LaSalle, Chicago, Illinois 60654.


1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
    Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
    R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
    Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
    LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
    (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
    Procedures Order or the Bidding Procedures, as applicable.
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       PLEASE TAKE FURTHER NOTICE that the Debtors will seek approval of the
Transaction at the Transaction Hearing scheduled to commence on or before January 28, 2019,
at 1:00 p.m. (prevailing Central Time) (the “Transaction Hearing”) before the Honorable
Thomas L. Saladino, at the Court, 111 South 18th Plaza #1125, Omaha, Nebraska 68102.

        PLEASE TAKE FURTHER NOTICE that objections to the relief requested in the
Transaction Motion must: (a) be in writing; (b) conform to the applicable provisions of the
Bankruptcy Rules and the Local Rules; (c) state with particularity the legal and factual basis for
the objection and the specific grounds therefor; and (d) be filed with the Court and served so as to
be actually received by January 25, 2019, at 4:00 p.m. (prevailing Central Time) by the
following parties (the “Objection Recipients”):

            Proposed Co-Counsel to the Debtors                       Proposed Co-Counsel to the Debtors
                     Kirkland & Ellis LLP                           McGrath North Mullin & Katz, P.C., LLO
                       300 North LaSalle                               First National Tower, Suite 3700
                    Chicago, Illinois 60654                                    1601 Dodge Street
           Attn.: Travis Bayer and Jamie R. Netznik                          Omaha, Nebraska 68102
                                                                      Attn.: James J. Niemeier, Michael T.
                              -and-                                   Eversden, and Lauren R. Goodman

                      Kirkland & Ellis LLP
                     601 Lexington Avenue
                  New York, New York 10022
                    Attn.: Steven Serajeddini
                   The United States Trustee                        Counsel to the Credit Agreement Agent
 Office of the United States Trustee for the District of Nebraska                Otterbourg P.C.
                  111 South 18th Plaza, #1125                                   230 Park Avenue,
                    Omaha, Nebraska 68102                               New York, New York 10169,
                    Attn: Jerry Jensen, Esq.                                Attn: Chad Simon, Esq.


        PLEASE TAKE FURTHER NOTICE that, if you object to the Transaction (a
“Transaction Objection”), such Transaction Objection must: (a) be in writing; (b) conform to the
applicable provisions of the Bankruptcy Rules and the Local Rules; (c) state with particularity the
legal and factual basis for the objection and the specific grounds therefor; and (d) be filed with the
Court and served so as to be actually received by January 25, 2019 at 4:00 p.m.
(prevailing Central Time) by the Objection Recipients.

         CONSEQUENCES OF FAILING TO TIMELY MAKE AN OBJECTION

     ANY PARTY OR ENTITY WHO FAILS TO TIMELY MAKE AN OBJECTION TO
THE SALE ON OR BEFORE THE TRANSACTION OBJECTION DEADLINE IN
ACCORDANCE WITH THE BIDDING PROCEDURES ORDER SHALL BE FOREVER
BARRED FROM ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH
RESPECT TO THE DISPOSITION OF THE DEBTORS’ PHARMACY ASSETS FREE
AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS,
EXCEPT AS SET FORTH IN THE AGREEMENT WITH THE SUCCESSFUL BIDDER.

      PLEASE TAKE FURTHER NOTICE that copies of the Transaction Motion, Bidding
Procedures, and Bidding Procedures Order, as well as all related exhibits, including the proposed


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Transaction Order, are available: (a) upon request to Prime Clerk LLC (the notice and claims
agent retained in these chapter 11 cases) by calling (844) 205-7495; (b) by visiting the website
maintained in these chapter 11 cases at http://cases.primeclerk.com/shopko; or (c) for a fee via
PACER by visiting http://www.neb.uscourts.gov.



                          [Remainder of page intentionally left blank]




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Dated: [_____], 2019            /s/
 Omaha, Nebraska                James J. Niemeier (NE Bar No. 18838)
                                Michael T. Eversden (NE Bar No. 21941)
                                Lauren R. Goodman (NE Bar No. 24645)
                                MCGRATH NORTH MULLIN & KRATZ, P.C. LLO
                                First National Tower, Suite 3700
                                1601 Dodge Street
                                Omaha, Nebraska 68102
                                Telephone:     (402) 341-3070
                                Facsimile:     (402) 341-0216
                                Email:         jniemeier@mcgrathnorth.com
                                               meversden@mcgrathnorth.com
                                               lgoodman@mcgrathnorth.com
                                - and -
                                James H.M. Sprayregen, P.C.
                                Patrick J. Nash, Jr., P.C. (pro hac vice pending)
                                Travis M. Bayer (pro hac vice pending)
                                Jamie Netznik (pro hac vice pending)
                                KIRKLAND & ELLIS LLP
                                KIRKLAND & ELLIS INTERNATIONAL LLP
                                300 North LaSalle
                                Chicago, Illinois 60654
                                Telephone:     (312) 862-2000
                                Facsimile:     (312) 862-2200
                                Email:         james.sprayregen@kirkland.com
                                               patrick.nash@kirkland.com
                                               travis.bayer@kirkland.com
                                               jamie.netznik@kirkland.com
                                - and -
                                Steven Serajeddini (pro hac vice pending)
                                Daniel Rudewicz (pro hac vice pending)
                                KIRKLAND & ELLIS LLP
                                KIRKLAND & ELLIS INTERNATIONAL LLP
                                601 Lexington Avenue
                                New York, New York 10022
                                Telephone:    (212) 446-4800
                                Facsimile:    (212) 446-4900
                                Email:        steven.serajeddini@kirkland.com
                                              daniel.rudewicz@kirkland.com

                                Proposed Co-Counsel to the Debtors




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                                     Exhibit C

                                Post-Auction Notice
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                                     Exhibit C

                                Post-Auction Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                                                           )
In re:                                                                     ) Chapter 11
                                                                           )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                            ) Case No. 19-80064 (TLS)
                                                                           )
                            Debtors.                                       ) (Jointly Administered)
                                                                           )

                   NOTICE OF SUCCESSFUL AND BACKUP BIDDER
              WITH RESPECT TO THE AUCTION OF THE DEBTORS’ ASSETS

        PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
(the “Debtors”) are soliciting offers for the sale(s), liquidation(s), or other disposition(s) (such
sale(s), liquidation(s), or other disposition(s), the “Transaction(s)”) of the Debtors’ stock of
prescription pharmaceutical inventory located in the prescription pharmacies in the Debtors’ stores
(the “Pharmacy Inventory”) and/or the prescription files and records, pharmacy customer lists and
patient profiles (the “Pharmacy Files,” together with the Pharmacy Inventory, the “Pharmacy
Assets”) located at, and for customers serviced from, such prescription pharmacies (the
“Pharmacies”) consistent with the bidding procedures (the “Bidding Procedures”) 2 approved by
the United States Bankruptcy Court for the District of Nebraska (the “Court”) by entry of an order
on [●] [Docket No. [●]] (the “Bidding Procedures Order”).

        PLEASE TAKE FURTHER NOTICE that, on January 23, 2019, at 9:00 a.m. (prevailing
Central Time), pursuant to the Bidding Procedures Order, the Debtors conducted the Auction with
respect to certain of the Pharmacy Assets at the offices of Kirkland & Ellis LLP, located at 300
North LaSalle, Chicago, Illinois 60654.

       PLEASE TAKE FURTHER NOTICE that, at the conclusion of the Auction, the Debtors,
in consultation with their professionals, selected the following Successful Bidder and Backup
Bidder with respect to the Assets:

    Pharmacy Assets                       Successful Bidder                      Backup Bidder



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
      Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
      R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
      Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
      LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
      (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
      Procedures Order or the Bidding Procedures, as applicable.
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        PLEASE TAKE FURTHER NOTICE that the Transaction Hearing to consider approval
of the sale, liquidation, or other disposition of the Pharmacy Assets to the Successful Bidders at
the Auction, free and clear of all liens, claims, interests, and encumbrances in accordance with
Bankruptcy Code section 363(f), will be held before the Honorable Judge Thomas L. Saladino, at
the Court, 111 South 18th Plaza #1125, Omaha, Nebraska 68102, on January 28, 2019, at 1:00
p.m. (prevailing Central Time).

        PLEASE TAKE FURTHER NOTICE, that at the Transaction Hearing, the Debtors will
seek the Court’s approval of the Successful Bid and the Backup Bid (if any). Unless the Court
orders otherwise, the Transaction Hearing shall be an evidentiary hearing on matters relating to
the Transaction and there will be no further bidding at the Transaction Hearing. In the event that
the Successful Bidder cannot or refuses to consummate the Transaction because of the breach or
failure on the part of the Successful Bidder, the Backup Bidder will be deemed the new Successful
Bidder and the Debtors shall be authorized, but not required, to close with the Backup Bidder on
the Backup Bid without further order of the Court.

        PLEASE TAKE FURTHER NOTICE that this Notice of Successful Bidder and Backup
Bidder is subject to the terms and conditions of the Transaction Motion and the Bidding Procedures
Order, with such Bidding Procedures Order controlling in the event of any conflict, and the Debtors
encourage parties in interest to review such documents in their entirety. Parties interested in
receiving more information regarding the sale, liquidation, or other disposition of the Pharmacy
Assets and/or copies of any related document, including the Transaction Motion or the Bidding
Procedures Order, may make a written request to: proposed counsel for the Debtors, Kirkland &
Ellis LLP, 300 North LaSalle Street, Chicago, IL 60654, Attn: Travis Bayer, Esq.
(travis.bayer@kirkland.com) and Jamie R. Netznik, Esq. (jamie.netznik@kirkland.com); and 601
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        PLEASE TAKE FURTHER NOTICE that copies of the Transaction Motion, the
Bidding Procedures Order, this Notice, and any other related documents are available: (a) upon
request to Prime Clerk LLC (the notice and claims agent retained in these chapter 11 cases) by
calling (844) 205-7495; (b) by visiting the website maintained in these chapter 11 cases at
http://cases.primeclerk.com/shopko; or (c) for a fee via PACER by visiting
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